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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS
                                     (Eastern Division)



 In re
                                                      Chapter 13
          ANDREW GREENHUT,
                                                      Case No. 19-10782-FJB
                         Debtor.



                 MOTION OF CREDITOR GITA SRIVASTAVA TO
         COMPEL DEBTOR TO WITHDRAW FILING AND REDACT DOCUMENT
                      (Emergency Determination Requested)

         Gita Srivastava (“Srivastava”), the holder of divorce-related claims against Andrew

Greenhut (the “Debtor”), hereby moves this Honorable Court to enter an order compelling the

Debtor to withdraw exhibits filed in violation of Texas court orders sealing the parties’ divorce

records. Furthermore, such documents include personal information in violation of the privacy

protections provided by Rule 9037 of the Federal Rules of Bankruptcy Procedure. This is at

least the third such violation to date in the Debtor’s bankruptcy case alone. In further support of

this Motion, Srivastava represents as follows:

         1.     On November 25, 2015, the Texas court rendered an Agreed Final Decree of

Divorce (the “Agreement”) that implemented an agreed property division between the Debtor

and Srivastava.

         2.     Prior to the entry of the Agreement, the court had also entered an Agreed Order

on Motion to Seal Court Records (the “Seal Order”) on October 15, 2015. The Seal Order

ordered that all documents in the parties’ divorce matter be sealed, and not opened or released

except by further court order.
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         3.       The Seal Order and the Agreement are both styled to include the phrase

“NOTICE: THIS DOCUMENT CONTAINS SENSITIVE DATA” in bold, all-capitals print

at the top left-hand corner of the first page.

         4.       On March 12, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 13 of title 11 of the United States Code (the “Bankruptcy Code”) in the

United States Bankruptcy Court for the District of Massachusetts (Eastern Division).

         5.       In his Schedules of Assets and Liabilities [Doc. No. 1] (collectively, the

“Schedules”), the Debtor discloses the full name of Srivastava’s child, a minor, in violation of

Rule 9037 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).1 Srivastava

identified this violation in her Limited Response of Creditor Gita Srivastava to Debtor’s Motion

to Employ Special Counsel [Doc. No. 20] filed on April 16, 2019. More than two months later,

the Debtor has failed to correct the violation.

         6.       On May 21, 2019, Srivastava filed her proof of claim [Claim No. 8-1] in the

Debtor’s case, asserting her claim based upon the Agreement. Srivastava subsequently amended

her claim on June 5, 2019 [Claim No. 8-2] (collectively, the “Srivastava Claim”). Due to the

Seal Order, Srivastava was unable to append the Agreement to the Srivastava Claim.

         7.       On June 18, 2019, the Debtor filed, inter alia, his Objection of Debtor to the

Amended Proof of Claim of Gita Srivastava Claim No. 8 and Request for Evidentiary Sanctions

Under Fed. R. Bankr. Pro. 3001(c)(2)(D) [Doc. No. 45] (the “Claim Objection”). The Debtor

included numerous exhibits to the Claim Objection, filed openly with the Court and available

publicly on the PACER system, including but not limited to:

                  a.       Exhibit C—Agreed Final Decree of Divorce;


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  The disclosure is made in response to Question 31 on Schedule B. Srivastava identified the violation in her
response in Paragraph 2, Page 2.


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               b.      Exhibit D—Order on Petitioner’s First Amended Petition for Enforcement
                       of Property Division;

               c.      Exhibit F—Judgment of Garnishment; and

               d.      Exhibit G—Judgment of Garnishment.

       8.      Exhibits C and D to the Claim Objection are pleadings from the Texas divorce

case, subject to the Seal Order. The Debtor, along with Srivastava and any other party, is

prohibited from disclosing such pleadings. Indeed, the pleadings themselves contain the helpful

reminder, in bold, all-capital letters, NOTICE: THIS DOCUMENT CONTAINS

SENSITIVE DATA. As such, the Debtor should be compelled to withdraw the Exhibits C

and D, and such pleadings should be removed from the Court’s docket in compliance with the

Seal Order.

       9.      Moreover, Exhibit C includes personal information about Srivastava’s child,

including the full date of birth, in violation of Bankruptcy Rule 9037. The Debtor failed to

redact such information.

       10.     These violative disclosures are not an innocent mistake by the Debtor. This is at

least the third violation by the Debtor in this case alone, which has been pending for only three

months: (a) the Debtor disclosed Srivastava’s child’s name in his Schedules; (b) the Debtor was

notified by the Court of another privacy violation by notice dated May 9, 2019; and (c) the

Debtor disclosed Srivastava’s child’s full date of birth in the Claim Objection. Tellingly, in

Exhibits F and G to the Claim Objection, the Debtor carefully and consistently redacted his

own account information. The Debtor is clearly aware of the duty to redact, but only did so for

his own benefit. To the extent the Debtor’s violations of Srivastava’s child’s privacy were not

calculated and malicious, they were at a minimum reckless and negligent.




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         11.    These latest violations follow a pattern of abuse and prohibited disclosure by the

Debtor stretching back to 2015. The Debtor and his professionals frequently disclosed

prohibited private information in various Texas matters, and regularly violated the Seal Order

and other Texas protective orders by publicly filing sealed documents, despite repeated orders by

Texas courts to address such violations. Srivastava eventually was forced to obtain a mandamus

to address improper attempts to disclose the child’s name and birth date in violation of Texas

law.

         12.    Massachusetts Local Bankruptcy Rule (“MLBR”) 9037-1 provides, in pertinent

part:

                All electronic or paper filings with the Court shall comply with Fed. R.
                Bankr. P. 9037. Counsel or, if applicable, the party making a filing shall
                be solely responsible for compliance with this Rule…

MLBR 9037-1(a) (emphasis added). Srivastava should not bear the cost of forcing the Debtor’s

compliance with his own obligations under the Bankruptcy Rules and MLBR. Indeed, the

Debtor has been aware of the first violation for over two months and has failed and refused to

address it. Moreover, this is the Debtor’s third violation, and he has demonstrated that he is

perfectly capable of redacting his own information, just not the information of others, including

Srivastava’s minor child. Accordingly, Srivastava requests that the Court award her reasonable

attorneys’ fees and costs associated with this compliance effort.

         13.    Srivastava has requested emergency determination of this Motion in an effort to

protect her child’s privacy and to limit the potential damage of the Debtor’s breach of the Seal

Order.

         WHEREFORE, for all of the foregoing reasons, Srivastava requests that this Honorable

Court enter an order: (i) allowing the Motion; (ii) ordering the Debtor to redact the Schedules in

compliance with Bankruptcy Rule 9037 and MLBR 9037-1; (iii) ordering the Debtor to


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withdraw Exhibits C and D to the Claim Objection; (iv) awarding Srivastava her fees and costs

in connection with this Motion; and (v) granting Srivastava such other and further relief as just

and necessary.

                                                     Respectfully submitted,

                                                     GITA SRIVASTAVA,

                                                     By her attorneys,


                                                     /s/ Alex F. Mattera
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 Dated: June 19, 2019


                                CERTIFICATE OF SERVICE

       I, Alex F. Mattera, hereby certify that on the 19th day of June 2019 I caused to be served a
copy of the above pleading on all parties registered for electronic service through the CM/ECF
system.


                                                 /s/ Alex F. Mattera
                                                 Alex F. Mattera




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